Case: 6:17-cv-00157-CHB-HAI Doc #: 54 Filed: 06/01/18 Page: 1 of 2 - Page ID#: 446




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT LONDON

                                      Electronically Filed

 DAVID WILSON, as Administrator of the
 Estate of Lisa Noble, Deceased, Plaintiff
                                                  C.A. No.: 6:17-157-KKC

                                                  NOTICE OF COMPLIANCE OF
                                                  SERVICE OF PLAINTIFF’S FRCP
 VS.
                                                  26(a)(2) EXPERT WITNESS
                                                  DISCLOSURES TO DEFENDANTS
                                                  COOPER AND BEACON TRANSPORT,
                                                  LLC.
 BEACON TRANSPORT, LLC and
 TERRAN COOPER, Defendants




       The Plaintiff, by counsel, served counsel for the Defendant, Harlan Judd, Plaintiff’s

FRCP26(a)(2) disclosures today in compliance with the Scheduling Order of record in this

matter at Docket No. 12 by regular U.S. Mail service to his office address, postage pre-paid to:

       Hon. Harlan E. Judd, III
       JUDD, SATTERFIELD & ASSOCIATES, PLLC
       869 Broadway Avenue
       P.O. Box 51093
       Bowling Green, Ky 42104


                                             Respectfully submitted,



                                             _ /s/Timothy D. Lange___________
                                             Timothy D. Lange
                                             BENSON, RISCH & LANGE, PLLC
Case: 6:17-cv-00157-CHB-HAI Doc #: 54 Filed: 06/01/18 Page: 2 of 2 - Page ID#: 447



                                                401 W. Main Street, Suite 2150
                                                Louisville, Kentucky 40202
                                                Telephone: (502) 583-8373

                                                D. Randall Jewell
                                                JEWELL LAW OFFICE, PLLC
                                                P.O. Drawer 670
                                                Barbourville, Kentucky 40906
                                                Telephone: (606) 546-9714

                                                Billy J. Taylor
                                                TAYLOR LAW OFFICE, PLLC
                                                110 Knox Street, Suite A
                                                Barbourville, Kentucky 40906
                                                Telephone: (606) 545-0224

                                                ATTORNEYS FOR PLAINTIFF




                                           CERTIFICATE


          It is hereby certified that on the foregoing was filed June 1, 2018 with the Clerk of the

Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of

record.



                                                /s/ Timothy D. Lange
                                                TIMOTHY D. LANGE




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